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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


 RICHARD SEEKS, individually and on behalf       Case No. 1:19-cv-02394
 of all others similarly situated,
                                                 CLASS ACTION
               Plaintiff,
                                                 Honorable John J. Tharp, Jr
        v.

 THE BOEING COMPANY, DENNIS A.
 MUILENBURG, and GREGORY D. SMITH,

               Defendants.


 MERCER BUSCH, on behalf of himself              Case No. 1:19-cv-03548
 and all others similarly situated,
                                                 CLASS ACTION
               Plaintiff,
                                                 Honorable Jorge L. Alonso
        v.

 THE BOEING COMPANY, DENNIS A.
 MUILENBURG, GREGORY D. SMITH, and
 KEVIN McALLISTER,

               Defendants.


     MOTION OF ALI ALIBRAHIM FOR CONSOLIDATION OF THE ACTIONS,
    APPOINTMENT AS LEAD PLAINTIFF, AND APPROVAL OF SELECTION OF
                              COUNSEL

       Ali Alibrahim (“Movant”), by and through his counsel, respectfully moves this Court,

pursuant to Section 21D(a)(3)(B) of the Securities Exchange Act of 1934 (“Exchange Act”), 15
U.S.C. §78u-4(a)(3)(B), as amended by the Private Securities Litigation Reform Act of 1995 (the

“PSLRA”), for an Order (emailed to chambers): (1) consolidating the above-captioned actions (the

“Actions”); (2) appointing Movant as Lead Plaintiff on behalf of all persons that purchased or
otherwise acquired The Boeing Company (“Boeing” or the “Company”) securities during the Class

Period (defined in these Actions as January 8, 2019 and May 8, 2019, inclusive); (3) approving
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Movant’s selection of counsel as Lead Counsel and Liaison Counsel; and (4) granting such other

and further relief as the Court may deem just and proper. In support of this Motion, Movant submits
a Memorandum of Points and Authorities, the Declaration of Anthony F. Fata and exhibits attached

thereto, the pleadings, and other filings herein and such other written or oral arguments as may be
presented to the Court.

        This motion is made on the grounds that Movant is the most adequate plaintiff, as defined

by the PSLRA, based on his losses of approximately $235,745 suffered as a result of Defendants’
wrongful conduct as alleged in the Actions. Further, Movant satisfies the relevant requirements of

Federal Rule of Civil Procedure 23 because his claims are typical and he will fairly and adequately
represent the interests of the class.


 Dated: June 7, 2019                         Respectfully submitted,


                                             /s/ Anthony F. Fata

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                                             SPRENGEL LLP
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                                             Liaison Counsel for the Class

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                                             *pro hac vice to be submitted

                                             Counsel for Movant and [Proposed] Lead Counsel
                                             for the Class
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                               CERTIFICATE OF SERVICE

       I, Anthony F. Fata, the undersigned attorney, hereby certify that on the 7th day of June,

2019, I caused to be served a copy of the within and Motion Of Ali Alibrahim For Consolidation

Of The Actions, Appointment As Lead Plaintiff, And Approval Of Selection Of Counsel via

the Court’s CM/ECF system, on all counsel of record.


                                            /s/ Anthony F. Fata
                                            Anthony F. Fata




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